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                                              Exhibit A
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                                            No. GV3-03079

 THE STATE OF TEXAS                               §           IN THE DISTRICT COURT OF
                                                  §
 cx ret                                           §
          YEN-A-CARE OF THE                       §
          FLORIDA KEYS, INC.                      §
                                                  §
                           Plain t~tfs,           §
                                                  §           TRAVIS COUNTY, TEXAS
V.                                                §
                                                  §
ROXANE LABORATORIES, INC.,                        §
BOEHRINGER INGELHEIM                              §
PHARMACEUTICALS, NC., BEN                         §
VENUE LABORATORIES, INC., and                     §
BOEHRINGER INGELHEIM                              §
CORPORATION                                       §
                                                  §
                           Defendants.            §           201st JUDICIAL DISTRICT

                        STATE OF TEXAS’ THIRD AMENDED PETITION

TO THE HONORABLE JUDGE OF THE COURT:
          The State ofTexas, by and through the Attorney General of Texas, Greg Abbott, brings this
cause of action. These claims are asserted pursuant to the Texas Medicaid Fraud Prevention Act,

V.T.C.A. Human Resources Code Chapter 36 (“theAct” or “TMFPA”) and common law. Pursuant

to § 36.107(a) of the Act, the State of Texas has primary responsibility for prosecuting this action.

Private Person Plaintiff/Relator Yen-A-Care of the Florida Keys, Inc. (“VAC” or “Yen-A-Care”)

originally provided information to the State ofTexas which is the basis for this suit and is included
as a named party plaintiff in this case.



                                   I. DISCOVERY CONTROL PLAN
          1.1     Plaintiff, the State of Texas, designates this case as a Level 3 case requiring a

discovery control plan tailored to the circumstances of this specific suit.




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                                                  II. DEFENDANTS

          The Defendants complained of and sued in this action are:
          2.1      Roxane Laboratories, Inc. (“Roxane”) is a corporation organized under the laws of

 Delaware with its principal offices in Columbus, Ohio, and is a subsidiary of Boehringer Ingellieim

 Corporation. At all times material to this civil action, Roxane has transacted business in the State

 ofTexas by, including but not limited to, selling and distributing to purchasers in the State ofTexas

 pharmaceutical products that are the subject ofthis action, but does not maintain a regular place of

business in this state or a designated agent for service ofprocess.

          2.2     BoehringerIngellieim Pharmaceuticals, Inc. (“BIPI”) is a corporation organized under

the laws of Delaware with its principal offices in Ridgefield, Connecticut, and is a subsidiary of

Boehringer Ingellxeim Corporation. B]PI does not maintain a regularplace ofbusiness in this state,

but maybe served with process by service upon its registered agent, CT Corporation System, 350
North St. Paul Street, Dallas, Texas 75201. At all times material to this civil action, BIN has

transacted business in the State ofTexas by, including but not limited to, selling, marketing, and/or

distributing to purchasers in the State of Texas pharmaceutical products that are the subject of this

action.

          2.3     Ben Venue Laboratories, Inc. (“Ben Venue”) is a corporation organized under the

laws of Delaware with its principal offices in Bedford, Ohio, and is a subsidiary of Boehringer
Ingeiheim Corporation. Ben Venue does not maintain a regular place of business in this state nor

does it maintain a registered agent for service of process. At all times material to this civil action,

Ben Venue has transacted business in the State of Texas by, including but not limited to, selling,

marketing, and/or distributing to purchasers in the State of Texas pharmaceutical products that are

the subject ofthis action. The management, supervision, control,reporting and financial exchanges

by and between Ben Venue, BIPI, and Roxane are inextricably intertwined and justif~rthe exercise

ofpersonal jurisdiction over this Defendant.

          2.4     Boehringer Ingeiheim Corporation (“Boehringer”) is a corporation organized under

the laws ofNevada with its principal offices in Ridgefleld, Connecticut, and is the parent company



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 ofRoxane, BIPI, and Ben Venue. Boehringer does not maintain a regular place ofbusiness in this

 state nordoes it maintain a registered agent for service ofprocess. At all times material to this civil

 action, Boehringer and its subsidiaries have transacted business in the State ofTexas by, including

 but not limited to, selling and distributing to purchasers in the State of Texas pharmaceutical

 products that are the subject of this action. The management, supervision, control, reporting and

 fmancial exchanges by and between Boehringer and its subsidiaries, BIPI, Roxane and Ben Venue

 are inextricably intertwined and justif~’the exercise of personal jurisdiction over this Defendant.


                 III. RESPONDEAT SUPERIOR AN]) VICARIOUS LIABILITY

          3.1      The Defendants are sometimes referred to herein collectively as the “Defendants.”

 Any and all acts alleged herein to have been committed by any of the Defendants were committed

 by said Defendants’ officers, directors, employees, representatives or agents who at all times acted

 on behalf of their respective Defendant(s).


         3.2      The Defendants are related entities sharing common elements of management,

 finances,control, supervision, and reportingand thus are mutually,jointly, and severally liable under

 legal theories ofrespondeat superior, and the past, present and continuing relations and dealings by

and between these related entities are so inextricably intertwined that for purposes ofthis suit, some

or all ofthem should be considered as a single entity at law and equity.


            IV. PRELIMINARY STATEMENT AND NATURE OF THE ACTION

         4.1      This is an action under the common law and the Texas Medicaid Fraud Prevention

Act (hereinafter sometimes referred to as “TMFPA,” or “the Act”) for restitution, damages, pre-

judgment interest, civil penalties of not less than $1,000.00 or more than $10,000.00 for each

unlawful act, two (2) times the value of the payments, and recovery of costs, attorneys’ fees, and




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 expenses ofthe Attorney General ofthe State ofTexas and Yen-A-Care againstDefendants, as well

 as any and all other monetary amounts as may be allowed at law or in equity under Section 36.052.

          4.2      The Defendants knowingly orintentionally made false representations ofprices and

 costs for certain oftheirdrugs directly or indirectlyto the Texas Medicaid Program. The Defendants

 knew that the Texas Medicaid Program intended, and was required, to base its payments ofthe drug

 reimbursement claims submitted by physicians, pharmacies, and other providers on estimates of

 acquisition costs incurred by such providers for the drugs, and that the Texas Medicaid Program

 would rely on the price and cost representations of the Defendants in estimating providers’

 acquisition costs. The Texas Medicaid Program relied on the false statements and inflated drug

 prices and costs reportedby Defendants, which caused its estimates ofprovider acquisition costs for

 the drugs to be excessive. Thus, the Texas Medicaid Program was defrauded by the Defendants into

 paying reimbursement forthe Defendants’ drugs in excessive amounts.

         4.3       In the course of the Plaintiffs’ investigation of the facts of this case, the following

 drugs have been identified as ones forwhich the Defendants reported false and misleading prices to,

or concealed the true prices from, the State:

         Aeetaminophen, Acetylcysteine, Albuterol, Atrovent, Azathioprine, Butorphanol, Calcium

Carbonate,      Calcitrol,    Chlorpromazine, Codeine Sulfate,         Cromolyn,     Cyclophosphamide,

Dexamethasone, Diclofenac Sodium, Digoxin, Diphenoxylate/Atropine, Furosemide, Haloperidol,

Hydromorphone, Hydroxyurea, Ipecac Syrup, Ipratroprium Bromide, Isoetharine Solution,Lactulose,

Leucovoran Calcium, Lidocaine, Lithium, Lorazepam,Marinol, Megestrol, Meperidine, Methadone,

Methotrexate, Metoclopramide, Mexiletine HCL, Mirtazapine, Morphine Sulphate, Naproxen,

Nefazodone, Oramorph, Oxycodone, Prednisone, Propantheline, Propranolol, Pseudoephedrine,




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 Ranitidine, Roxanol, Roxicet, Roxicodone, Roxiprin, Sodium Chloride, Sodium Polystyrene

 Suifonate, Theophylline, Tamoxifen, Torecan, and Triazolam.

          A list of the specific National Drug Code (NDC) numbers for these drugs is attached as

 Exhibit “A” and incorporated by reference herein. The drugs listed on Exhibit “A” shall be referred

 to hereafter as the “Identified Drugs.” During the discovery phase of this case, Plaintiffs may

 discover evidence of additional drugs for which Defendants misrepresented prices to the State. In

 such an event, those drugs will be added to Exhibit “A” by amendment ofthis petition.

         4.4       The Defendants marketed their drugs to wholesalers, distributors, group purchasing

organizations, pharmacies, home health care companies, and other customers, through financial

inducements, including but not limited to: false price markups, the difference between acquisition

cost and reimbursement (the “Spread”), discounts, rebates, chargebacks, free goods, and other

financial incentives. The Defendants marketed their products directly through sales visits and

presentations, telemarketing, and other forms ofcontact with their customers, as well as indirectly

through various phannacy inventory software designed to identify those products with the largest

spread. The Defendants thus wrongfully exploited and defrauded the Texas Medicaid Program by

inducing it to pay claims to pharmacies at grossly inflated amounts that far exceeded a

reimbursement based upon a reasonable estimate of acquisition costs of those Defendants’

pharmaceuticals to pharmacies, wholesalers and distributors.

         4.5      In September 1996, Defendants BIPI and Roxane, by and through its multisource

marketing manager, Judy Waterer, orchestrated a marketing scheme involving two of the

Identified Drugs in this case, Atrovent and Ipratropium Bromide, which resulted in price

misrepresentations to the Texas Medicaid Program by the Defendants. Anticipating the

imminent introduction by Dey Labs, Inc., ofthe first generic competitor for Roxane’ s



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 Ipratropium Bromide, Roxane enticed preferred home health care customers to enter into

 contracts to purchase large quantities of Ipratropium Bromide by offering those customers

 Defendant BIPI’ s Atrovent as a substitute for Roxane ‘5 Ipratropium Bromide at very low generic

 prices. The purpose of this scheme was to capture as much of the rapidly expanding home health

 care market as possible before Dey Labs launched its competitive generic Ipratropium Bromide

product. The home health care market was extremely important to the success ofRoxane’s

 Ipratropium Bromide, and that market was historically dominated by Dey Labs. Roxane knew

that offering BIPI’s Atrovent as a substitute for Roxane’s Ipratropium Bromide at very low

generic prices without disclosing that fact to government reimbursement programs, such as the

Texas Medicaid Program, would ensure purchasers excessive reimbursement from those

programs and thus would provide a tremendous financial incentive forhome health care

customers to purchase Ipratropium Bromide through Roxane in the short term. After all, BIPI’s

Atrovent and Roxane‘5 generic Ipratropium Bromide are the identical pharmaceutical product,

manufactured under the same New Drug Application in the same production facilities, with the

only differences being the packaging and the pricing. Roxane also appreciated that this

substitution offering would expand and strengthen its long-term contractual relationships with

those home health customers.

         The relationship of BIPI, Roxane, and their common parent, BIC, enabled them to

implement this scheme. Without the interrelationship ofthose three corporate defendants, this

particular scheme would not have been possible.

         Home health care providers participating in the Texas Medicaid program were among

those who purchased BIPI’s Atrovent at low generic prices. The Defendants concealed from the

Texas Medicaid program the fact that Atrovent was being sold at these heavily discounted prices



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 to the home health care market, when in fact, it was being sold at these low generic prices in

 extremelylarge quantities throughout Texas. This concealment of the low generic price at which

 Atrovent was being sold to Texas home health care providers caused the Texas Medicaid

 program to make excessive reimbursement payments to those providers.



                                       V. JURISDICTION & VENUE

          5.1      Jurisdiction over the subject matter is founded in part upon the TMFPA, which

prohibits, and provides exclusive remedies to redress, the conduct of the Defendants and which

provides for this action to be brought by the State of Texas and by Private Person Plaintiff, Yen-A-

Care.

          5.2     Venue is proper in Travis County pursuant to TEX. HuM. REs. CODE § 36.052(d) in

that many of the unlawful acts committed by the Defendants were committed in Travis County

including the making of false statements and misrepresentations of material fact to the State of

Texas, its departments, agencies, instrumentalities, contractors, and to the Texas Medicaid Program.

         5.3      Additionally, venue is proper against these Defendants in Travis County as all or a

substantial portion of the events giving rise to the instant claims occurred in Travis County. TEx.

Civ. PRAC. & REM. CODE §~15.001, 15.002 (Vernon 2001).


           VI. BACKGROUND: HOW PHARMACEUTICAL CLAIMS ARE PAID
                            UN])ER THE TEXAS MEDICAID PROGRAM

          6.1      The Texas Medicaid Program reimburses eligible providers, including phannacies,

 for the approved pharmaceuticals they provide to Medicaid recipients. The Texas Vendor Drug




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  Program (TVDP) ofthe Texas Health and Human Services Commission (“THHSC”)’ administers

  this program. Providers can obtain reimbursement through the TVDP only for products listed on

  the Texas Drug Code Index. 25 TEx. ADMIN. CODE § 35.201. To have its particularpharmaceutical

  products listed on the index, a drug company or manufacturer must file and have approved an

  application for its products with the Texas Department ofHeaith. 25 TEX. ADMN. CODE § 35.801.

  Section 2 of the application requires the manufacturer to report, for each drug submitted, the

 suggested wholesale price to pharmacies, the price at which the drug is sold to wholesalers andlor

 distributors, the direct price to pharmacies, the price to chain warehouses and the priceat which the

 drug is sold to any other special purchasing groups. Additionally, the form contains a separate

 question in section 4 inquiring whether the drug company sells the drug to wholesalers and/or

 distributors. The application requires that a manufacturer certify that the information it has

 provided is correct and that it will provide correct information regarding subsequent changes in

 pricing of the product within 15 days of such changes occurring. Further, in approving the

 application, THHSC expressly requires that supplemental updated price information be timely

 provided.

         6.2      THHSC bases its reimbursement schedule on the prices reported bythe manufacturer

on the application, and on subsequent price changes supplied by the manufacturer. Reimbursement

to a pharmaceutical provider (i.e., a pharmacy or physician) is based on THHSC’s best estimate of

acquisition cost, referred to as (“EAC”). 1 Trx. ArrvnN. CODE § 355.8541 (1).

         6.3     When a manufacturer reports false pricing information to or conceals true pricing

infonnation from TVDP, the agency’s calculation of estimated acquisition cost (“EAC”) is inflated



           The Vendor Drug Program was transferred from the Texas Department ofHealth to the
    Texas Health and Human Services Commission.


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 and thus the reimbursement schedule is also inflated.               The manufacturer uses the inflated

 reimbursements forits drugs as a marketing device to induceproviders to purchase its drugs instead

 of competing drugs for which the reimbursement is lower. These circumstances result in drug

 reimbursement overpayments to drug providers by the State.

                         VII. ACTIONABLE CONDUCT OF DEFENDANTS

          7.1     The Defendants knewthat by reporting false prices and costs forthe Identified Drugs

and concealing and failing to report truthful pricing information they would cause the Texas

Medicaid Program to overestimate acquisition costs for their drugs and thus to pay excessive

reimbursement to Medicaid providers for their drugs. Notwithstanding this knowledge, the

Defendants reported false or misleading price and cost information and concealed and failed to

disclose price reductions and truthful pricing information about the Identified Drugs to accomplish

that result; i.e., to cause the Texas Medicaid program to pay excessive reimbursements for the

Identified Drugs. The Defendants’ actions created “spreads” between the acquisition costs of the

Identified Drugs and the amounts reimbursed for those drugs by Medicaid.               These “spreads”

financially benefitted the Defendants’ Texas Medicaid provider customers and thus induced their

customers to purchase the Defendants’ drugs over those ofdrugmanufacturers thatreport theirprices

truthfully, resulting in Defendants gaining higher sales and greater market share.

         7.2      The Defendants were fully capable of making truthful representations about prices

and costs of the Identified Drugs.                To the Plaintiffs’ knowledge, they did so when it was

economically beneficial to them, such as when they reported Average Manufacturers’ Prices and

Best Prices to the federal government under the Medicaid rebate program mandated by the Omnibus

Budget Reconciliation Act of 1990 (“OBRA’90”), and/or when they reportedpricing information

for Medicaid reimbursement purposes for certain of their drugs that did not face generic or other



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 competition.

          7.3      Notwithstanding the Defendants’ knowledge that they were required to provide

 truthful price information vital to Texas Medicaid’s ability to estimate provider acquisition costs,

 the Defendants knowingly orintentionallyreported false price information about the IdentifiedDrugs

 and concealed or failed to disclose truthftl price information.

          7.4      In one or more of the following ways, the Defendants acted knowingly or

 intentionally in making false statements and misrepresentations of material fact to the Texas

 Medicaid program, and in concealing from or failing to disclose the truth to the Texas Medicaid

 program:

                   A.       Reporting false prices and concealing true prices on initial applications to

                   have the Identified Drugs covered by Texas Medicaid;

                   B.       Concealing orotherwise failing to disclose decreases in the prices or costs of

                   the Identified Drugs;

                   C.       Concealing orotherwise failing to disclose transactions, practices, and terms

                  of sale, such as discounts, rebates, off-invoice pricing, free goods, cash payments,

                  chargebacks, and other financialincentives and inducements, that decrease the cost,

                  and thereby the price, of the Identified Drugs to purchasers;

                  D.       Reporting that the price or cost of an Identified Drug was increasing when it

                  in fact was increasing in a lesser proportion, or remained the same, or was

                  decreasing;

                  E.       Reporting that the price or cost of an Identified Drug was the same when in

                  fact it was falling; and

                  F.       Reporting that an Identified Drug was not sold to a specific sector orsegment



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                       of the market (also known as a “class oftrade”) when in fact it was, regularly and in

                       significant quantities, and concealing or failing to disclose such facts.



             VIII. THE DEFENDANTS’ ACTIONS CONSTITUTE “UNLAWFUL ACTS
               AND VIOLATE TIlE TEXAS MEDICAID FRAUD PREVENTION ACT

              8.1      Defendants have repeatedly and continuously violated the TMIFPA. The Act specifies

              10 separate acts that are declared to be unlawful. Each of the Defendants committed at least

              three of those unlawful acts on numerous occasions:

              (a) The Act prohibits a person from knowingly or intentionally making or causing to be

             made a false statement ormisrepresentation ofmaterial fact on an application for a contract,

             benefit, or payment under the Medicaid Program; or that is intended to be used to determine

             a person’s eligibility for a payment under the Medicaid Program. TEX. HUM. REs. CODE §

             36.002(1).

             (b) The Act prohibits a person from knowingly or intentionally concealing or failing to

             disclose an eventthat permits a personto receive a benefit orpayment that is not authorized,

             or that permits a person to receive a benefit or payment that is greater than the benefit or

             payment that is authorized. TEX. HUM. RE5. CODE §36.002(2).

             (c) The Act prohibits a person from knowingly orintentionally making orcausing to be made

             a false statementormisrepresentation offact concerning information requiredto beprovided

             by a federal or state law, rule, regulation orprovider agreement pertaining to the Medicaid

             Program. TEX. HUM. RE5. CODE § 36.002(4).



             8.2      In the TMFPA, The Texas Legislature has specified acts and omissions that are

    illegal. Those acts and ommissions give rise to civil and criminal liability and penalties that can be


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 imposed against drug manufacturers such as the Defendants, who voluntarily chose to place their

 respective products into the Texas Medicaid VendorDrug Program and thus are subject to and bound

 by the laws, rules, regulations, and agreements pertinent thereto. The TMFPA provides no statutory

 defenses and containsno references to common law defenses or allowances for mitigation and none

 of these are allowed.

              IX. THE DEFENDANTS’ SELECTIVE REPORTING OF FALSE PRICE
                 INFORMATION REVEALS THAT THEY ACTED KNOWINGLY


          9.1     The Defendants were motivated to misrepresent price information when they could

 profit from such conduct by making one of their drugs more attractive to providers through the

promise of inflated reimbursement. This opportunity arose routinely in the marketing of the

Identified Drugs, where creating the largest “spread” worked its illegal magic against the

competition. In contrast, when a Defendant stood to gain no marketing advantage for other drugs

by creating an inflated reimbursement, it typically reported prices that were generally and currently

available in the marketplace rather than the kind of false pricing information it reported for its

Identified Drugs. This contrasting behaviorreveals that the Defendants know the difference between

misleading and non-misleading pricing data; that non-misleading pricing data was available to them;

that they chose whether to report misleading or non-misleading pricing data as to particular drugs;

that they had a motive to report misleading pricing data on the Identified Drugs; and that their

reporting of false information was no accident, but was planned.          Therefore, evidence that a

Defendant routinelyreported non-misleading prices forcertain other drugs and misleading prices for

the Identified Drugs is relevant and admissible:

         1.      Under T.R.E. 401, as tending to prove a fact of consequence to the determination of

                  the action, i.e., that the Defendants acted knowingly, and not by accident ormistake,



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                   in reporting false and misleading pricing information on the Identified Drugs;

           2.      Under T.R.E. 404 (b) as proof of motive, opportunity, intent, plan, knowledge and

                   absence ofmistake or accident;

           3.      Under T.R.E. 406 as proofofroutine practice to consistently act illegally when

                   profit resulted, yet legally when the profit motive was absent or less compelling,

                   and to show that a defendant was able to comply with the law, did know how to

                   report prices that were not misleading, and did so when the motive to act illegally

                   was lessened or missing; and

          4.       Under T.M.R.P.A. § 36.052 (b)(1) through (5) for assessment of a civil penalty.

                                        X. COMMON LAW FRAUD

           10.1    The allegations in paragraphs I through IX are incorporated herein as if set forth in

their entirety. Alternatively, the Defendants are liable to the State for common law fraud in an

amount that exceeds the minimum jurisdictional limits of this Court, as set forth more

specifically in paragraph XI.


                                                  XL DAMAGES

          11.1    Pursuant to the terms of the Medicaid Fraud Prevention Act, each Defendant is

liable to the State of Texas for the value of any payment.     .   .   provided under the Medicaid

program, directly or indirectly, as a result of the unlawful act. TEX. HUM. REs. CODE §

36.052(1). Additionally, eachDefendant is liable for interest on the value ofthe payment, civil

penalties ranging from $1,000 to $10,000 for each unlawful act, two times the value of the

payment, and all fees, expenses, and costs reasonably incurred, Id. at (2), (3), & (4) and §

36.007.

          Plaintiff and Relator invoke in the broadest sense all reliefpossible at law or in equity


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 under § 3 6.052, whether specified in this pleading or not. Plaintiffs will seek an amount as civil

 penalties which will be justified and appropriate under the facts relevant to this issue and under

 the laws as determined by the Court.

          11.2     Alternatively, the Defendants are liable to the State for common law fraud in an

 amount that exceeds the minimum jurisdictional limits ofthis Court, including, but not limited to

 actual damages, pre-judgment interest, attorney fees, and punitive damages in an amount not to

 exceed the amounts set forth as follows:

         As monetary damages for the alternative claims based upon common law fraud and as a

T.R.C.P. Rule 48 alternative measure of damages under the TMFPA the Plaintiffs seek the

 following elements of monetary damages:

         A.       The difference between the reimbursement amount paid by the Texas Medicaid

         program for the Identified Drugs, on the one hand and the amount that would have been

         paid but for false price/cost reporting, on the other hand;

         B.       Two times the amount found by the trier of fact in section A, as per TMFPA

         § 36.052(a)(4);
         C.       Prejudgment interest;

         D.       A civil penalty to be assessed by the trier of fact using the guidelines at TMFPA

         § 36.052 (b) (1)-(5) inclusive; and
         E.       Reasonable and necessary attorney fees, costs and expenses of litigation of the

         State and Relator. This amount includes fees to be set and awarded by the Court pursuant

         to TMIFPA § 36.110(c).

         11.3     The TMFPA is a statute of absolute strict liability. There are no defenses

available for any violation of its provisions and in particular any violation of any part of § 36.002



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 of the TMFPA. Likewise, according to the Texas Supreme Court, as a matter of law the defenses

 of estoppel, laches and limitations are not available against the State of Texas, as a Sovereign.

 State v. Durham, 860 S.W.2d 63, 67 (Tex. 1993).

          11.4     In order for the trier of fact to be apprised of relevant and probative information

 upon which to assess a finding of an appropriate civil penalty, the jury will need to receive and

 hear evidence relating to TMFPA § 36.052 (b) (1)-(4) inclusive. Specifically the trier of fact

 must receive evidence on the following topics:

         (1)       previous and other violations of the law;

         (2)      the seriousness ofthe unlawful act,   “.   .   .including the nature, circumstances,

         extent, and gravity of the unlawful act;”

         (3)      whether the health and safety of the public was threatened; and

         (4)      whether the person acted in bad faith when engaged in the conduct that formed the

         basis ofthe unlawful act.


                                            XII. JURY DEMAND

         12.1     The State respectfully requests a trial by jury pursuant to Tex. R. Civ. P. 216.


                                           XIII. PRAYER
13.1     The State asks that it recover from the Defendants restitution of overpayments, statutory

additional double damages, pre-judgment interest, attorneys fees, costs, and expenses and civil

penalties as provided in TEX. HUM. REs. CODE ANN., Chapter 36, or actual damages, pre-

judgment interest, attorney fees and punitive damages under common law. Plaintiff and Relator

invoke in the broadest sense all relief possible at law or equity under Texas Human Resources

Code, Chapter 36 without qualification or limitation. The State asks that upon trial of this case

that judgment be entered in favor ofthe State and against the Defendants in the amounts set forth


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 herein. The Relator further asks that it be awarded its costs and expenses; a reasonable attorney

 fee; and the maximum Relator’s share provided for under the TMFPA. The State prays for such

 other and further relief to which it may show itself entitled either at law or in equity.

                                    Respectfully submitted,
                                    GREG ABBOTT
                                    Attorney General of Texas

                                    BARRY McBEE
                                    First Assistant Attorney General

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                                        CERTIFICATE OF SERVICE

        I hereby certif~rthat a true and correct copy of the foregoing Third Amended Original
 Petition was sent via hand delivery on this the /~dayofNovember, 2004, to the following:


 Mr. Steve McConnico
  Scott, Douglas & McConnico, LLP
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 Austin, Texas 78701-2589
 COUNSEL FOR ROXANE LABORATORIES, INC.,
 BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.,
 BEN VENUE LABORATORIES, INC., and BOEHTRINGER
 INGELHEIM CORPORATION




                                              CYNTHIA O’KEEFFE




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                           EXHIBIT A
        __________       IDENTIFIED DRUGS
       NOC           ________   _________         _____   ________

       p0054002025          LITHIUM ER 450MG TABLET
       100054004544         IPRATROPIUM 0.03% SPRAY
       [bOO54004641          IPRATROPIUM 0.06% SPRAY
        00054170125         TORECAN 5MGIML AMPUL                         I


        00054224725        ~HYDROXYUREA500MG CAPSULE
       p0054252725          LITHIUM CARBONATE 300MG CAP
       100054252731          LITHIUM CARBONATE 300MG CAP
        00054253125        JLITHIUM CARBONATE 600MG CAP
        00054260111        JMARINOL 2.5MG CAPSULE
        ~260211MARINOL5MG                CAPSULE
                                            I.’ ,r~        I
       00054~60i11          MARINOL 10MG t,APSULc
       ~4261625MEXILETINEH~L150MG~APSULE
       00054261725          MEXILETINE HCL 200MG CAPSULE
       00054261825          MEXILETINE HCL 250MG CAPSULE
       00054279525          OXYCODONE W/APAP 5/500 CAP
                            ACETYLCYSTEINE 10% VIAL
       00054302602          ACETYLCYSTEINE 20% VIAL
       00054302702          ACETYLCYSTE1NE 10% VIAL
       00054302802          ACETYLCYSTEINE 20% VIAL
       00054309036          BUTORPHANOL1OMG/ML SPRAY                 —

       00054311763          CALCIUM CARB 500MG/5ML SUSP
       00054312041          CALCITRIOL 1MCG/ML SOLUTION
       00054314658          CHLORPROMAZINE 1 OOMG/ML CON__~•
       00054317644          DEXAMETHASONE 0.5MG/0.SML DROP
       00054319246          DIGOXIN 0,O5MG/ML ELIXIR
       00054319446          DIPHENOXYLATE/ATROPINE LIQ
       00054329863          FUROSEMIDE 4OMG/5ML SOLN
       00054429725          FUROSEMIDE 20MG TABLET
       00054429925          FUROSEMIDE 40MG TABLET
       00054430125          FUROSEMIDE 80MG TABLET
       00054430129          FUROSEMIDE 80MG TABLET
       00054329446          FUROSEMIDE 1OMG/ML SOLN
       00054329450         FUROSEMIDE 1OMG/ML SOLN
       00054429731          FUROSEMIDE 20MG TABLET
       00054429931          FUROSEMIDE 40 MG TABLET
       00054335050          HALOPERIDOL LAC 2MG/ML CONC
       00054340840         ISOETHARINE 1% SOLUTION
       00054340844          ISOETHARINE 1% SOLUTION
       00054348658         LACTULOSE 10GM/i 5ML SOLUTION
       00054348668         LACTULOSE 1OGM/1SML SYRUP
       00054350049         LIDOCAINE 2% VISCOUS SOLN
       00054350547         LIDOCAINE HCL 4% SOLUTION
      00054352763          LITHIUM CIT 8MEQ/5ML SYRUP
      00054353244          LORAZEPAM 2MG/ML ORAL CONC.
      00054354258          MEGESTROL ACET 4OMG/ML SUSP
      00054354563          MEPERIDINE 5OMG/5ML SYRUP
      ~W0054355344         METHADONE INTENSOL 1 OMG/ML
      100054355563         METHADONE 5MG/5ML SOLUTION
      00054355663           j
                           METHADONE 1OMG/5ML SOLUTION
      00054356363          METOCLOPRAMIDE 5MG/5ML SYR
      00054356444          METOCLOPRAMIDE 1OMG/ML SOLN
      00054363063          NAPROXEN I2SMG/5ML SUSPEN
      00054368344          ROXIC000NEINTENSOL 2OMG/ML
      00054372144          PREDNISONE SMG/ML SOLUTION
      00054372250          PREDNISONE 5MG/5ML SOLUTION

      g~
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       NDC                 Descri~ytion
       ~0005437si44       IROXANOL 2OMG/ML SOLUTION
       L000s437slso       IROXANOL 2OMG/ML SOLUTION
       ~oo54375i58        1o~AiJoLloo~/sMLSOLUiibW~j

        ~pp54377459~_      ROXANOL-T 20MG/ML SOLUTION
        00054378563        MORPHINE SULF 1OMG/5ML SOLN
        00054378663        MORPHINE SULF 2OMG/5ML SOLN
        00054380563        SPS i 5GM/6OML SUSPENSION
        00054384163        THEOPHYLLINE 80MG/i 5ML SOLN —


        000543841 68       THEOPHYLLINE 80MG/i 5ML SOLN
        00054401431        ACETAMINOPHEN 325MG TABLET   —


        00054408425        AZATHIOPRINE 50MG TABLET
        00054412025        CALCIUM CARBONATE 1.25GM TB  —


        00054412925        CYCLOPHOSPHAMIDE 25MG TAB
       [00054413025        CYCLOPHOSPHAMIDE 50MG TAB
       100054415625        CODEINE SULFATE 30MG TABLET
        00054415725        CODEINE SULFATE 60MG TABLET  —


        00054417925       IDEXAMETHASONE 0.5MG TABLET
        00054417931        DEXAMETHASONE 0.5MG TABLET
        00054418025        DEXAMETHASONE 0.75MG TABLET
        00054418125       IDEXAMETHASONE iMG TABLET
        00054418225       IDEXAMETHASONE i.5MG TABLET
        00054418325       IDEXAMETHASONE 2MG TABLET
        00054418425       IDEXAMETHASONE 4MG TABLET
        00054418625      JbEXAMETHASONE 6MG TABLET
        00054422121       IDICLOFENAC SODIUM 50MG SATAB
        00054422125       IDICLOFENAC SODIUM 50MG SATAB
        00054422131       IDICLOFENAC SODIUM 50MG SATAB1
        00054422221       IDICLOFENAC SODIUM 75MG SATAB
        00054422225       IDICLOFENAC SODIUM 75MG SA TAB
        00054422231       IDICLOFENAC SODIUM 75MG SA TAB
        ~22321DICLOFENACSODIUM25MGSATAB
        00054422325        DICLOFENAC SODIUM 25MG SATAB
        00054434225        HALOPERIDOL 0.5MG TABLET
        00054434325        HALOPERIDOL 1MG TABLET
       00054434331         HALOPERIDOL 1MG TABLET
       [900~~43~2L_ HALOPERIDOL 2MG TABLET
                                                            I




       90054434431         HALOPERIDOL 2MG TABLET
      ~0054434525          HALOPERIDOL 5MG TABLET
      100054434531       IHALOPERIDOL 5MG TABLET
       99054434625         HALOPERIDOL 10MG TABLET
       00054434631         HALOPERIDOL 10MG TABLET
      k0054434725         HALOPERIDOL 20MG TABLET
      (dO55443702I~ HYDROMORPHONE HCL 8MG TAB
       00054439225        HYDROMORPHONE 2MG TABLET
      ~öO~A43942~~        HYDROMORPHONE 4MG TABLET
      100054449613        LEUCOVORIN CALCIUM 5MG TAB
      ç000s4449625        LEUCOVORIN CALCIUM 5MG TAB        I


       00054449705        LEUCOVORIN CALCIUM 10MG TAB
      pp054449710         LEUCOVORIN CALCIUM 10MG TAB
      (00054449805        LEUCOVORIN CALCIUM 15MG TAB
       00054449810        LEUCOVORIN CALCIUM 15MG TAB
       00054449911        LEUCOVORIN CALCIUM 25MG TAB   —


       00054452725        LITHIUM CARBONATE 300MG TAB
      ?00054452731        LITHIUM CARBONATE 300MG TAB
      [Q0054453825        METHADONE HCL 40MG DISKET
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          NDC                         Description
          00054455015   METHOTREXATE 2.5MG TABLET
          00054455025 7I~IEtiIÔtREXAT1~T5MG TABLET
          99q~4~7~JMETHADONE       HCL 10MG TABLET
          00054458225             IMORPHINE SULFATE 15MG TAB
          00054458325            JMP~!HINESULFATE 30MG TAB


          ~
          ~

          100054465325                ROXIPRIN 4.88/325 TABLET
          00054465331                 ROXIPRIN 4.88/325 TABLET
          00054465725                 ROXICODONE 5MG TABLET
          00054465825                 ROXICODONE 15MG TABLET
          00054466525                 ROXICODONE 30MG TABLET
          00054467321                 NEFAZODONE HCL 150MG TABLET
          100054467713                MIRTAZAPINE 30MG TABLET
          00054467813                 MIRTAZAPINE 45MG TABLET
          00054472125              PROPANTHELINE 15MG TABLET
          00054472131              PROPANTHELINE 15MG TABLET
          00054474125             1PREDNISONE 1MG TABLET
          00054474131                 PREDNISONE 1MG TABLET
          00054474325                 PSEUDOEPHEDRINE 30MG TABLET
          00054478425             I
                                      ROXICET 5/500 CAPLET
          00054479025                 ORAMORPH SR 15MG TABLET SA
          00054479225                 ORAMORPH SR 60MG TABLET SA
          00054479325                 ORAMORPH SR 100MG TABLET SA
          00054480519                 ORAMORPH SR 30MG TABLET SA
          00054480525        —     ORAMORPH SR 30MG TABLET SA
          00054480527             IORAMORPH SR 30MG TABLET SA
          00054483121             TAMOXIFEN 10MG TABLET
          00054485321              RANITIDINE 150MG TABLET
          00054485325              RANITIDINE 150MG TABLET
          00054485329        —     RANITIDINE 150MG TABLET
          00054485425              RANITIDINE 300MG TABLET
          00054485806             TRIAZOLAM 0.125MG TABLET
          00054485829             TRIAZOLAM 0.125MG TABLET
          00054485906             TRIAZOLAM 0.25MG TABLET
          00054485929        —    TRIAZOLAM 0,25MG TABLET
          00054806311             ALBUTEROL .83MG/ML SOLUTION
          30054806313             ALBUTEROL .83MG/ML SOLUTION
      00054806321                  ALBUTEROL .83MG/ML SOLUTION
      100054816721                JCROMOLYN NEBULIZER SOLUTION
      153                          c~2Mg~IzE~pLUTIoN                —


                                 J?RAL~E!~YM   BR 002%SOLN
      (90054840213       —         IPRATROPIUMBROM2%SOLN
       00054842711                 IPECAC SYRUP
      S~!z~L_:
            JZAd5~ThJt~TJII
      ~

          00054877805             ~ROXANOL
                                         30MG SUPPOSITORY
      ~00054881025                SODIUM CHLORIDE 0.9% VIAL-NEB.
      (90597008062                ATROVENT 0.02% SOLUTION
